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                        No. 1:25-cv-10770-MJJ

IN THE UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF MASSACHUSETTS

            JASON GRANT, ALLISON TAGGART,
          LISA PETERSON, AND SAMANTHA LYONS,
                                                      Plaintiffs,

                                   v.
        TRIAL COURT OF THE COMMONWEALTH OF
         MASSACHUSETTS, BEVERLY J. CANNONE,
       GEOFFREY NOBLE, MICHAEL D’ENTREMONT,
              AND MICHAEL W. MORRISSEY,
                                                    Defendants.




      MOTION OF FIRST AMENDMENT LAWYERS
 ASSOCIATION; FOUNDATION FOR INDIVIDUAL RIGHTS
       AND EXPRESSION; AND NATIONAL PRESS
          PHOTOGRAPHERS ASSOCIATION
FOR LEAVE TO FILE AMICI CURIAE BRIEF IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                 JOHN G. MATEUS, ESQ.
                                 400 W. CUMMINGS PARK
                                 SUITE 1725-119
                                 WOBURN, MA 01801
                                 JOHN@MATEUSLAW.COM
                                 617-475-0158
                                 BBO # 671181
                                 Attorneys for Amici Curiae
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RULE 7.1 DISCLOSURE STATEMENT


      Undersigned counsel certifies, pursuant to Federal Rule of Civil Procedure

7.1, that amicus curiae First Amendment Lawyers Association (FALA) is not a

publicly held corporation and does not have any parent corporation, and that no

publicly held corporation owns 10 percent or more of any corporation’s stock.


      Undersigned counsel certifies, pursuant to Federal Rule of Civil Procedure

7.1, that amicus curiae Foundation for Individual Rights and Expression (FIRE) is

not a publicly held corporation and does not have any parent corporation, and that

no publicly held corporation owns 10 percent or more of any corporation’s stock.


      Undersigned counsel certifies, pursuant to Federal Rule of Civil Procedure

7.1, that amicus curiae National Press Photographers Association (NPPA) is not a

publicly held corporation and does not have any parent corporation, and that no

publicly held corporation owns 10 percent or more of any corporation’s stock.




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       MOTION FOR LEAVE TO FILE BRIEF OF AMICI CURIAE

      The First Amendment Lawyers Association (FALA); the Foundation for

Individual Rights and Expression (FIRE); and the National Press Photographers

Association (NPPA) (collectively “proposed amici”) respectfully move this Court

for leave to file the accompanying amici curiae brief in support of Plaintiffs’

motion for preliminary injunction. In support of this Motion, proposed amici state

as follows:

   1. FALA is a nonprofit organization comprised of attorneys across the United

      States with a shared commitment to preserving and advancing the rights

      guaranteed by the First Amendment. FIRE is a nonpartisan, nonprofit that

      defends the rights of all Americans to free speech and free thought—the

      essential qualities of liberty. NPAA is a 501(c)(6) nonprofit founded in 1946

      to advocate for the rights of visual journalists, including photojournalists,

      videographers, and multimedia reporters. NPPA promotes the highest

      standards in visual journalism and works to protect its members' right to

      gather and disseminate news—particularly in public places where

      government efforts to limit press access can chill constitutionally protected

      activity.

   2. At the virtual Zoom hearing before this District Court on May 19, 2025 the

      amici orally moved for permission to file this brief the Court granted it.



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3. Proposed amici filed an amici brief in the First Circuit on this matter.

4. This matter involves questions of freedom of the press, freedom of

   peaceable assembly, and freedom of speech, all issues core to the mission of

   amici and vital to a free and fair society.

5. Plaintiffs are demonstrators directly affected by Judge Cannone’s amended

   buffer zone order (the New Order). The Massachusetts State Police have

   undertaken to enforce the order broadly, using it to justify viewpoint

   discrimination and exclude independent journalists from the public

   sidewalks, precluding them from properly covering the Karen Read trial.

   The amici brief addresses the specific affront to the First Amendment and

   Due Process under the New Order and why enjoining it is in the public

   interest.

6. For the reasons set forth, amici respectfully request that this Court grant the

   instant motion for leave to file the proposed amici curiae brief.

   Date: May 22, 2025.               Respectfully submitted,

                                     /s/ John G. Mateus, Esq.
                                     John G. Mateus, Esq.
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                     CERTIFICATE OF COMPLIANCE

     Pursuant to Federal Rules of Civil Procedure, I certify that:

     This motion     contains 343 words, excluding the parts of the motion

exempted.

     This motion was prepared in a proportionately spaced typeface using

Microsoft Word Times New Roman 14-point font.

     ate: May 22, 2025.

                                      /s/ John G. Mateus, Esq.
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                         CERTIFICATE OF SERVICE

      The undersigned certifies that an electronic copy of this document was filed

with the Clerk of the Court for the United States District Court for the District of

Massachusetts using the CM/ECF system. The undersigned also certifies all parties

in this case are represented by counsel who are registered CM/ECF users, and that

service of the brief will be accomplished by the CM/ECF system.

      Date: May 22, 2025.

                                             /s/ XXX
                                             Attorney




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